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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No.       SACV 19-00898-AG (KESx)                         Date      September 16, 2019
 Title          P and P Imports LLC v. OJCommerce, LLC, et al




PRESENT:

          HONORABLE ANDREW J. GUILFORD, UNITED STATES DISTRICT JUDGE

         Melissa Kunig                                   Deborah Parker
         Deputy Clerk                                    Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                  ATTORNEYS PRESENT FOR DEFENDANT:

         Casey Kemper                                    Shlomo Hecht (telephonically)


PROCEEDINGS:          SCHEDULING CONFERENCE

                      DEFENDANT’S MOTION TO DISMISS [23]


SCHEDULING CONFERENCE:

Cause is called for hearing and counsel make their appearances. Court and counsel confer.
The Court sets the following dates:

Discovery Cut-off is July 20, 2020.

A Final Pretrial Conference is set for October 5, 2020, at 8:30 a.m. A Jury Trial is set for
October 20, 2020 at 9:00 a.m. Court sets the length of the trial at 4 days.

Counsel stipulate to and the Court orders ADR Procedure No. 2.

Scheduling Order Specifying Procedures is signed and filed this date.

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MOTION:

Motion hearing held. The Court hears oral argument from the parties. The Court takes the
Motion under submission. Order to issue.

                                                                       SCHED CONF 0:08
                                                                       MOTION: 0:03


                                                                               0      :       11
                                                Initials of Deputy Clerk   mku

cc: ADR




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